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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 UNITED STATES OF AMERICA                                          )
                                                                   )
         Plaintiff,                                                )
                                                                   )
 v.                                                                ) No. 4:17 CR 51 RLW
                                                                   )
 TRAVION J. BROWN                                                  )
                                                                   )
                                                                   )



                             MOTION TO CONTINUE SENTENCING

       Counsel requests that the March 28, 2018 sentencing be continued for at least 21 days. Counsel

is still gathering information needed for sentencing. The government has no objection to the requested

continuance.    This request is made for good cause shown to ensure that the Court has the necessary

information to determine the appropriate sentence in this cause.

       WHEREFORE, counsel requests that the Court continue the trial setting in this cause for twenty-

one days.


                                             Respectfully submitted,


                                             /s/Nanci H. McCarthy
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     Case: 4:17-cr-00051-RLW Doc. #: 59 Filed: 03/21/18 Page: 2 of 2 PageID #: 191




                                    CERTIFICATE OF SERVICE


I hereby certify that on March 21, 2018, the foregoing was filed electronically with the Clerk of the Court
to be served by operation of the Court’s electronic filing system upon Saylor Fleming, Assistant United
States Attorney.



                                             /s/Nanci H. McCarthy
                                             NANCI H. MCCARTHY
                                             Assistant Federal Public Defender
